                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

 DAVID DELL'AQUILA, LORANNDA
 BORJA, TODD CHESNEY, and
                                                       Case No. 3:19-cv-00679
 BRENT WEBER, on behalf of
 themselves and all others similarly                   Judge William L. Campell, Jr.
 situated,
                        Plaintiffs,                    Magistrate Jefferey S. Frensley

 v.
 NATIONAL RIFLE ASSOCIATION OF
 AMERICA


                        Defendant.

                  PROPOSED INITIAL CASE MANAGEMENT ORDER

         A.    JURISDICTION: The court has jurisdiction pursuant to 28 U.S.C. § 1332.

         B.    BRIEF THEORIES OF THE PARTIES:

               For Plaintiff:   Common law fraud

              For Defendant: Denies any and all liability.

         C.    ISSUES RESOLVED:         Jurisdiction

         D.    ISSUES STILL IN DISPUTE: Venue, liability and damages.

         E.    INITIAL DISCLOSURES: The parties shall exchange initial disclosures pursuant

to Fed. R. Civ. P. 26(a)(1) on or before December 7, 2020.

         F.    CASE RESOLUTION PLAN AND JOINT STATUS REPORTS: Approximately

fourteen (14) days after the conclusion of fact discovery, the parties shall submit a joint report

confirming that the parties made a good faith attempt to resolve the case. The joint report shall

also state whether the parties believe ADR might assist in resolution of the case. If a judicial




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settlement conference is requested in either joint report or separately, the parties shall also state (i)

the reasons why mediation is not feasible; (ii) their proposed timing for scheduling of the

settlement conference; and (iii) any preference of a particular Magistrate Judge to conduct the

settlement conference.

        The parties shall complete a mediation on or before September 14, 2021.

        G.      DISCOVERY: The parties shall complete all written discovery and depose all fact

witnesses on or before August 31, 2021. Written discovery (consisting of initial interrogatories,

initial requests for admission, and initial document requests) should proceed promptly (unless

otherwise provided for herein) and shall be served by no later than December 10, 2020. Discovery

is not stayed during dispositive or other motions, unless ordered by the Court.

        No discovery disputes may be brought to the Court for resolution before lead counsel for

all parties has conducted an in-person meeting and made a good faith effort to resolve any

dispute(s). Discovery disputes that cannot be resolved after the in-person meeting should be

brought promptly to the attention of the Magistrate Judge by a request for a discovery conference.

It will be within the Magistrate Judge’s discretion whether to allow for the filing of

discovery‑related motions. All discovery motions shall be filed by no later than July 30, 2021. In

connection with any discovery conference or discovery motion, the parties shall file a joint

discovery dispute statement, which describes the specific discovery request(s) in dispute and

details each party’s position with supporting fact and legal authorities. The joint discovery dispute

statement shall certify that lead counsel for all parties conducted the aforementioned in-person

meeting and made a good faith effort to resolve each discovery dispute presented in the statement.

If the joint statement is sufficiently detailed, any party may adopt by reference the joint statement

for purposes of Local Rule 7.01, but must clearly state in the filing made in accordance with the



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timing requirements of Local Rule 7.01 that the joint statement is adopted as the party’s

memorandum of law or response.

       H.       MOTIONS TO AMEND OR TO ADD PARTIES: Any motions to amend or to add

parties shall be filed by no later than March 15, 2021.          Any motion to amend must be

accompanied by the proposed amended pleading, which shall be appended as an exhibit to the

motion. Prior to filing the motion to amend, counsel for the moving party shall discuss the proposed

amendment with all other counsel and shall state in the motion to amend whether or not the motion

is opposed.

       I.        DISCLOSURE AND DEPOSITIONS OF EXPERTS: The plaintiff shall identify

and disclose all expert witnesses and expert reports on or before September 30, 2021. The

defendant shall identify and disclose all expert witnesses and reports on or before October 29,

2021. Rebuttal experts shall be permitted only by leave of court. Unless otherwise provided for in

a separate pretrial order, supplemental expert disclosures, which specifically include, but are not

limited to, any supplemental information to expert reports, must be made in accordance with Rule

26(a) and (e). Supplemental expert opinions or other expert disclosures not timely disclosed may

be excluded at trial. See Local Rule 39.01(c)(5.C). Expert depositions shall be completed by

November 30, 2021.

       J.        SUBSEQUENT CASE MANAGEMENT CONFERENCE. A subsequent case

management conference shall be held telephonically on June 1, 2021, to address: status of

discovery (including any known or anticipated discovery issues or disputes); prospect for

settlement (including propriety of ADR); and, any other appropriate matters. Plaintiff’s counsel

shall initiate the call.

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       K.       DISPOSITIVE MOTIONS: As provided above, the parties must attempt to resolve

the case prior to the filing of dispositive motions. Dispositive motions shall be filed by no later

than January 14, 2022. Responses to dispositive motions shall be filed within 28 days after the

filing of the motion. Briefs or memoranda of law in support of or in opposition to a dispositive

motion shall not exceed 25 pages. Optional replies may be filed within 14 days after the filing of

the response and shall not exceed 5 pages. No motion for partial summary judgment shall be filed

except by permission of the Court. Any party wishing to file such a motion shall first file a separate

motion that gives the justification for filing a partial summary judgment motion in terms of overall

economy of time and expense for the parties, counsel, and the Court.

       L.       ELECTRONIC DISCOVERY. The parties agree to the default standards set forth

in Administrative Order No. 174-1.

       M.       MODIFICATION OF CASE MANAGEMENT ORDER. Any motion to modify

the case management order or any case management deadline shall be filed at least seven (7) days

in advance of the earliest impacted deadline. Unless a joint motion, the motion for modification

must include a statement confirming that counsel for the moving party has discussed the requested

modification or extension with opposing counsel and whether or not there is any objection to the

requested modification or extension. The motion for modification must also include: (i) the trial

date and all deadlines, even unaffected deadlines, so that it will not be necessary for the Court to

review one or more previous case management orders in consideration of the motion and (ii) a

statement that the requested extension will still conform to the requirements of Local Rule

16.01(h)(1) that no dispositive motion deadline, including response and reply briefs, shall be later

than 90 days in advance of the trial date. Motions for extensions should also detail the moving




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party’s efforts at diligently complying with the originally schedule deadline and the facts

demonstrating good cause for modification of the deadline as required by Fed. R. Civ. P. 16(b)(4).

         N.     REQUESTS TO SEAL DOCUMENTS OR PORTIONS OF DOCUMENTS.

Any party requesting that documents or portions of documents be sealed, including without

limitation for use as exhibits at trial, must file a motion to seal in accordance with Section 5.07 of

Administrative Order No. 167-1 (Administrative Practices and Procedures for Electronic Case

Filing) and Local Rule 7.01, which demonstrates compelling reasons to seal the documents and

that the sealing is narrowly tailored to those reasons. The motion to seal, even if unopposed, must

specifically analyze in detail, document by document, the propriety of secrecy, providing factual

support and legal citations. Generally, only trade secrets, information covered by a recognized

privilege (such as the attorney-client privilege), and information required by statute to be

maintained in confidence is typically enough to overcome the presumption of public access.

Failure to comply with these procedures or to provide sufficiently compelling reasons may result

in denial of the request to seal documents or portions of documents. Protective orders should not

provide that documents produced in discovery and designated as “confidential” will be

automatically sealed upon filing or if used at trial. Any such language in proposed protective

orders will be stricken and may result in denial of the motion for entry of the proposed protective

order.

         O.     ESTIMATED TRIAL TIME AND TARGET TRIAL DATE: The jury trial of this

action is expected to last approximately five days. A trial date no earlier than June 10, 2022 is

respectfully requested.

         It is so ORDERED.

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                                                      United States Magistrate Judge


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